     Case 5:11-cr-40047-DDC      Document 397     Filed 04/10/12    Page 1 of 4




                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF KANSAS



UNITED STATES OF AMERICA,

                   Plaintiff,
        vs.                                 Case No. 11-40047-17/20-RDR

FERNANDO GARCIA-MARTINEZ
and JORGE CHRISTIAN MUNOZ,

                   Defendants.


                                   O R D E R

        This matter is presently before the court upon the motions of

defendants Fernando Garcia-Martinez and Jorge Christian Munoz for

an extension of time to file pretrial motions and for complex case

designation.     These defendants seek an additional 120 days to file

pretrial motions.        Having carefully reviewed the motions of the

defendants, the court is now prepared to rule.

        The indictment in this case was initially filed on June 1,

2011.    At that time, there were two counts and fifteen defendants.

On June 27, 2011, the court declared this a complex case.                       In that

order,     the   court   noted    that    this    case     was     the    result    of

investigations      involving      more    than      50    defendants.             The

investigations     spanned    approximately        19     months    and     involved

multiple wiretap orders and other orders for the collection of

electronic information or communication.             There were approximately

50   search      warrants     executed      in     connection            with    these

investigations.     The government estimated that the discovery would
    Case 5:11-cr-40047-DDC    Document 397        Filed 04/10/12        Page 2 of 4




exceed 50,000 pages and involve hundreds of hours of audio records.

Since that time, 12 defendants have entered pleas of guilty.                           A

superseding indictment was filed on March 7, 2012. The superseding

indictment added five new defendants, including the two instant

defendants.

     For the purposes of these defendants and the new defendants,

the court shall again declare this a complex case. The court shall

grant   the    defendants’   motions       for   extensions        of     time.       The

defendants shall be allowed until August 2, 2012 to file pretrial

motions.      The government shall be allowed until August 22, 2012 in

which to file responses to any motions filed by the new defendants

and to any motions previously filed by the original defendants.                        A

hearing date for the motions shall be set on September 7, 2012.

Counsel are advised that the court will carefully scrutinize any

request to extend these deadlines.

     The court shall declare that the extension of time granted in

this order shall be considered excludable time for the purposes of

the Speedy Trial Act, 18 U.S.C. § 3161(h)(7).               Under this section

of the Speedy Trial Act, the court may exclude a period of delay

from the time computed under the Act’s deadlines for starting a

trial if the court finds that the ends of justice served by

granting the continuance outweigh the best interest of the public

and the defendant in a speedy trial.             To make this determination,

the court must consider the following factors “among others:”                         1)


                                       2
    Case 5:11-cr-40047-DDC       Document 397     Filed 04/10/12    Page 3 of 4




whether the failure to grant the continuance would likely make the

continuation       of   the   proceeding      impossible     or     result     in     a

miscarriage of justice; 2) whether the case is unusual, complex or

contains     novel      issues   which       require   additional       time        for

preparation; 3) whether there was a delay in filing the indictment

which justifies a continuance; and 4) whether the failure to grant

a continuance would deny the defendant reasonable time to obtain

counsel, or deny either side continuity of counsel, or deny the

attorney for the government or defendant the reasonable time

necessary    for    effective    preparation,      taking    into    account        the

exercise of due diligence.

        Given the number of defendants and the breadth and bulk of the

discovery, the court believes this case qualifies as a complex

case.      Discovery has only recently been provided to the new

defendants.      Under these circumstances, the court believes that a

failure to extend the time for filing pretrial motions would result

in a miscarriage of justice and prevent counsel for the new

defendants and for the government sufficient time to effectively

prepare    and   to     adequately   represent     their    clients     given       the

exercise of due diligence.

        The court is unaware of any circumstances which would indicate

that the public’s safety will be threatened by the extension of

time in this case.            The court believes the parties’ and the

public’s interest in a fair, just and efficient resolution of the


                                         3
    Case 5:11-cr-40047-DDC   Document 397    Filed 04/10/12   Page 4 of 4




charges is supported by the extension of time issued in this order.

     IT   IS   THEREFORE   ORDERED   that   the   motions     of   defendants

Fernando Garcia-Martinez and Jorge Christian Munoz for extension of

time to file pretrial motions and for complex case designation

(Doc. ## 391 and 393) be hereby granted.          The defendants shall be

allowed until August 2, 2012 to file pretrial motions.                      The

government shall be allowed until August 22, 2012 in which to file

responses to any motions filed by the new defendants and to any

motions previously filed by the original defendants.               A hearing

date for the motions shall be set on September 7, 2012.            The period

of delay resulting from this extension shall be excludable under 18

U.S.C. § 3161(h)(7).

     IT IS SO ORDERED.

     Dated this 10th day of April, 2012 at Topeka, Kansas.


                                 s/Richard D. Rogers
                                 United States District Judge




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